Case 1:99-cV-01261-.]DB-tmp Document 94 Filed 05/06/05 Page 1 of 2 Page|D 85

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISlON

DANIEL SMITH,

 

Plaintiff,

v. No. 99-1261-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

IT IS So oRDERED this é'»<(" day of May, 2005.

/

J. DANIEL BREEN\
NI ED sTATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance

th nine se and/m 79 (a) FP.CP on `§+QJD Q_S, _. ,

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 iii
case 1:99-CV-01261 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Honorable J. Breen
US DISTRICT COURT

